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                               UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    IN RE:                                                         )
                                                                   )      CHAPTER 11
    GALLERIA 2425 OWNER, LLC,                                      )
                                                                   )      Case No. 23-34815
                                                                   )
                      Debtor.
                                                                   )
      DECLARATION OF CHRISTOPHER R. MURRAY IN SUPPORT OF TRUSTEE’S
              OBJECTION TO CLAIM NO. 15 OF SONDER USA INC.

           I, Christopher R. Murray, hereby declare under penalty of perjury as follows:

           1.        Except as otherwise indicated herein, the facts set forth in this Declaration are based

upon my personal knowledge, my discussions with my counsel retained in this case, my experience

as a trustee and bankruptcy attorney, and/or my review of relevant documents and information

relevant to the above-captioned case. If called upon to testify, I would testify competently to the

facts set forth in this Declaration.

           2.        I am the trustee of the liquidation trust established pursuant to the confirmed plan

of reorganization in the bankruptcy case of Galleria 2425 Owner, LLC, Case No. 23-34815. I

formerly served as the chapter 11 trustee in the case.

           3.        I was the chapter 11 trustee of the Debtor’s case from February 9 to June 21, 2024.

In my role as chapter 11 trustee, I became familiar with the Debtor’s operations, the Debtor’s assets

and liabilities, and the various pleadings and filings with the U.S. Bankruptcy Court for the

Southern District of Texas.

           4.        The Trustee’s Objection to Claim No. 15 of Sonder USA Inc. (the “Objection”)1 is

the result of the analysis of the claims in the above-captioned case that I have conducted and



1
    Capitalized terms used, but not defined in this Declaration have the meanings ascribed to such terms in the Objection.
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directed my attorneys to conduct. I have read the Objection, and to the best of my knowledge,

information, and belief, the factual assertions made in the Objection are accurate.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


Executed on October 21, 2024                         /s/Christopher R. Murray
                                                     __________________________________
                                                     Christopher R. Murray, Trustee




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